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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  Eugene Allan, Deborah F. Allan, Keith
  Landen, Matthew J. Cavendish, and
  Traci Cavendish, on behalf of
  themselves and others similarly situated,
                                              Case No. 2:10-cv-14046
              Plaintiffs,
                                              Hon. Steven J. Murphy, III
  vs.
                                              Magistrate Judge R. Steven Whalen
  Realcomp II, Ltd., a Michigan Profit
  Corporation, et al.

              Defendants.


                 PLAINTIFFS’ UNOPPOSED MOTION FOR
            FINAL APPROVAL OF CLASS ACTION SETTLEMENT
Case 2:10-cv-14046-SJM-RSW ECF No. 222 filed 08/06/14           PageID.10514    Page 2 of 25



           Pursuant to Federal Rule of Civil Procedure 23(e), plaintiffs request final

  approval of the parties’ class action settlement agreement. In support of this

  motion, plaintiffs rely upon the facts and law set forth in the accompanying brief

  and exhibits.

           Local Rule 7.1 Certification. Before filing this motion and the attached

  brief, plaintiffs’ counsel emailed them to defendants’ counsel and inquired whether

  the motion would be opposed. Defendants’ counsel does not oppose this motion.



  Respectfully Submitted,

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                                                Dated: August 6, 2014



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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  Eugene Allan, Deborah F. Allan, Keith
  Landen, Matthew J. Cavendish, and
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                                              Case No. 2:10-cv-14046
              Plaintiffs,
                                              Hon. Steven J. Murphy, III
  vs.
                                              Magistrate Judge R. Steven Whalen
  Realcomp II, Ltd., a Michigan Profit
  Corporation, et al.

              Defendants.

        BRIEF IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
            FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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             CONCISE STATEMENT OF THE ISSUES PRESENTED

        1.     This Court preliminarily approved the parties’ settlement agreement

  on May 29, 2014, and notice has since been provided to the class members as

  ordered by this Court. After the fairness hearing on August 19, 2014, should this

  Court grant final approval of the settlement agreement?




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                  CONTROLLING OR MOST APPROPRIATE
                  AUTHORITY FOR THE RELIEF SOUGHT

  Fed. R. Civ. P. 23(e)

  UAW v. General Motors Corp., 497 F.3d 615 (6th Cir. 2007)




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                                  INTRODUCTION

        This Court preliminarily approved the parties’ settlement agreement as “fair,

  reasonable, adequate, and in the best interests of the class” on May 29, 2014. (Dkt.

  No. 220 at 2.) Since then, notice has been provided to the class members as

  ordered by this Court. After the fairness hearing on August 19, 2014, this Court

  should grant final approval of the settlement agreement because all the factors to

  be considered in the Sixth Circuit weigh in favor of final approval. Defendants do

  not oppose this motion.

                                   BACKGROUND

  I.    Litigation and Class Certification

        This antitrust action was filed on October 8, 2010, on behalf of all persons

  who purchased Exclusive Right to Sell real estate brokerage services in the

  Realcomp II, Ltd. (“Realcomp”) multiple listing service area between May 1, 2004

  and April 27, 2007. (Dkt. No. 1.) Plaintiffs Eugene Allan, Deborah F. Allan,

  Keith Landen, Matthew J. Cavendish, and Traci Cavendish alleged, among other

  things, that the defendants1 violated Section 1 of the Sherman Act when they


  1
   The remaining defendants are Realcomp II, Ltd. (“Realcomp”), Dearborn Board
  of Realtors, Detroit Association of Realtors, Eastern Thumb Association of
  Realtors, Livingston Association of Realtors, Metropolitan Consolidated
  Association of Realtors, North Oakland County Board of Realtors, Western Wayne
  Oakland County Association of Realtors, Weir, Manuel, Snyder & Ranke, L.L.C.,
  Real Estate One, Inc., Darralyn C. Bowers, Richard Knezek, Alissa Nead, Douglas
  Hardy, and Thomas R. Rademacher.
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  allegedly conspired to regulate listings on and membership in the Realcomp

  multiple listing service. Id. at ¶¶ 216-222. Plaintiffs alleged that such practices

  blocked competition from discount brokers and caused commission rates in the

  Realcomp service area to be artificially high. Plaintiffs, on behalf of a class of

  similarly situated individuals, sought treble damages, attorney fees, and costs. Id.

  at 44. Defendants have denied and continue to deny these allegations.

        This Court certified a class on March 30, 2013, pursuant to Fed. R. Civ. P.

  23(b)(3). (Dkt. No. 199.) The class definition is “all purchasers of Exclusive

  Right To Sell real estate brokerage services for residential properties in the

  Realcomp MLS Service Area from May 1, 2004 through April 27, 2007.” Id. at

  14. The class consists of several thousand individuals. After several formal

  mediation sessions facilitated by two neutral parties and after much arm’s-length

  negotiation, the parties ultimately agreed to settle this dispute. (Ex. A, Settlement

  Agreement.)

  II.   Order Preliminarily Approving the Settlement

        On May 29, 2014, the Court preliminarily approved the settlement

  agreement. (Dkt. No. 220). The Court found that “the parties engaged in arm’s-

  length negotiations and arrived at the proposed settlement after thorough

  investigation and discussion, and that [the] proposed settlement is fair, reasonable,

  adequate, and in the best interests of the class.” Id. at 2. The Court approved the


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  proposed form of notice and method of distribution, finding that they “are

  reasonably calculated to provide fair notice to interested parties of the pendency of

  the action and afford them an opportunity to object”. Id. at 6. The Court

  scheduled a final approval hearing for August 19, 2014. Id. at 3. Objections,

  exclusions, attorney appearances, and notices of intention to appear were due by

  August 5, 2014. Id. at 3-5.

  III.   Notice

         A.    Distribution of Notice

         Pursuant to Rule 23(e), the Court ordered notice as follows:

          The long-form notice was to be sent via first class mail to all class
           members that were identified through Realcomp’s records as
           supplemented by a skip-trace process. Id. at 6.

          Any returned mail was to be re-mailed once if possible, either to a
           forwarding address or upon further research. Id. at 6-7.

          The short-form notice was to be published in the Detroit Free Press. Id.
           at 7.
         Claims Administrator Angeion Group (“Angeion”) compiled a list of current

  mailing addresses for 64,132 potential class members. (Ex. B, Walsh Declaration,

  ¶ 5.) These addresses were derived from Defendant Realcomp’s database, verified

  through Experian’s deed trace service, and then updated through a skip-trace

  process. Id. ¶¶ 4-5. On or before June 4, 2014, Angeion mailed the approved

  long-form notice to 64,132 identified, potential class members. Id. A total of


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   8,328 were returned as undeliverable. Id. ¶ 19. That means that at least 55,804 –

   87% – reached the intended recipient on the first attempt. Id. As of August 1,

   2014, 202 of the undeliverable notices had been re-mailed to a forwarding address,

   and 730 had been re-mailed after further research, increasing the percentage of

   notices that reached the intended recipient to at least 88%. Id.

         Angeion arranged for the approved short-form notice to be published in The

   Detroit Free Press on June 9, 2014. Id. ¶ 14. Although not required by this Court,

   Angeion also published, after consultation with defense counsel, the short-form

   notice as a reminder in local C&G newspapers in Wayne, Oakland, and Macomb

   Counties on July 30 and 31, 2014, and in the Livingston County Daily Press &

   Argus on July 25, 2014. Id. ¶ 16. On July 21, 2014, Angeion sent 54,449

   reminder notices via postcard to all class members who had not yet responded,

   which was also above and beyond the Court-required notice. Id. ¶ 15.

         Angeion also set up a website, www.RealcompSettlement.com, where class

   members can view the notice and other important documents and download a

   claim form, and a telephone call center, where potential class members could get

   information regarding the settlement, request a claim form, and get assistance from

   a live operator as desired. Id. ¶¶ 7-8.

         In addition to the notice requirement in Rule 23(e), the Class Action Fairness

   Act, 28 U.S.C. § 1711 et seq. (“CAFA”) requires settling defendants to notify the


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   “appropriate” state and federal officials after a proposed class action settlement is

   filed with the Court. 28 U.S.C. § 1715(b). Plaintiffs understand that Defendants

   have complied with the CAFA notice requirement. (Dkt. No. 218.)

         B.      Responses to Notice

         The following describes the responses to the notice:

               Four class members have opted out. (Ex. B ¶ 12.)

               One class member has objected, but on grounds unrelated to this
                action and without evidence as required by this Court’s order. Id. ¶
                13; Dkt. No. 221.

               As of August 5, 2014, 1,977 class members have returned a claim
                form. (Ex. B ¶ 11.)

               The call center has received 724 calls. Id. ¶ 18.

               The website has received 2,227 visits. Id. ¶ 7.


                                       ARGUMENT

   I.    Standard for Final Approval of Class Action Settlement

         Class action settlement approval is governed by Rule 23(e). Fed. R. Civ. P.

   23(e). The Court’s role in reviewing class action settlements is “limited to the

   extent necessary to reach a reasoned judgment that the agreement is not the product

   of fraud or overreaching by, or collusion between, the negotiating parties, and that

   the settlement, taken as a whole, is fair, reasonable and adequate to all concerned.”

   Clark Equip. Co. v. Int’l Union, Allied Indus. Workers, 803 F.2d 878, 880 (6th Cir.


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   1986) (per curiam) (internal quotation marks and citation omitted). The Court’s

   only role is to approve or disapprove the settlement; it cannot modify it. Detroit

   Police Officers Ass’n v. Young, 920 F. Supp. 755, 761 (E.D. Mich. 1995).

         Court approval of class action settlements generally involves two stages.

   The first step, preliminary approval by this Court, has already been granted. (Dkt.

   No. 220.) As to the second step (the fairness hearing and final approval), the

   “ultimate issue” for the Court will be whether the proposed settlement “is fair,

   adequate and reasonable” after a hearing. Williams v. Vukovich, 720 F.2d 909, 921

   (6th Cir. 1983). At that stage, the Court should consider several factors:

         (1) the risk of fraud or collusion; (2) the complexity, expense and
         likely duration of the litigation; (3) the amount of discovery engaged
         in by the parties; (4) the likelihood of success on the merits; (5) the
         opinions of class counsel and class representatives; (6) the reaction of
         absent class members; and (7) the public interest.

   UAW v. General Motors Corp., 497 F.3d 615, 631 (6th Cir. 2007).

         The approval of a class action settlement as fair, adequate, and reasonable is

   within the district court’s discretion. Fidel v. Farley, 534 F.3d 508, 513 (6th Cir.

   2008). “In exercising that discretion, the Court may limit the fairness hearing to

   whatever is necessary to aid it in reaching an informed, just and reasoned

   decision[,] and the settlement or fairness hearing is not to be turned into a trial or

   rehearsal for trial on the merits.” In re Packaged Ice Antitrust Litig., 2012 U.S.




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   Dist. LEXIS 162459, **35-36 (E.D. Mich. Nov. 13, 2012) (internal quotations

   omitted).

         Class action settlements are favored. Carson v. American Brands, Inc., 450

   U.S. 79, 88 n. 14 (1981); UAW, 497 F.3d at 632 (noting “the federal policy

   favoring settlement of class actions”); Granada Investments, Inc. v. DWG Corp.,

   962 F.2d 1203, 1205 (6th Cir. 1992); Halliday v. Weltman, 2013 U.S. Dist. LEXIS

   24184, *6 (E.D. Mich. Feb. 22, 2013) (“[T]he public interest favors the resolution

   of the class claims in an orderly, efficient manner”). Settlement conserves judicial

   resources by avoiding further litigation and allows parties to avoid the costs and

   risks of a long, complicated and expensive trial, particularly in an antitrust action.

   Settlement may also provide the best method of distributing damage awards to

   plaintiffs, especially from a limited fund that might be exhausted before all

   claimants receive awards.

   II.   This Court Should Approve the Settlement Because it Is Fair,
         Reasonable and Adequate

         The settlement should be approved because it is fair, reasonable and

   adequate and because each of the seven factors to be considered weighs in favor of

   approval.

         A.     Summary of Settlement

         The parties engaged in arm’s-length negotiations over several years. In

   2012, the parties first met with William Sankbeil in an all-day mediation session
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   that was ultimately unsuccessful. In 2013, the parties again engaged in mediation

   in two separate sessions facilitated by Magistrate Whalen. Counsel met several

   more times and, beginning in fall 2013, conducted private settlement negotiations

   over several weeks. Those efforts finally culminated in the settlement agreement

   presented to the Court on March 5, 2014. (Dkt. No. 217.)

         That settlement requires Realcomp to deposit $3.25 million over time to a

   common fund, which will be distributed under the settlement agreement to

   responding class members pro rata based on the commission they paid. (Ex. A.)

   The named plaintiffs will receive a lump sum, and the attorneys will ask the Court

   to award them one-third of the common fund for attorney fees. Id. Upon full

   payment, the parties will release one another from all claims, causes of action and

   damages, as described in the Agreement. Id. at IV.A-B. If the Court grants final

   approval of the settlement, the case will be dismissed after the final deposit has

   been made to the common fund. Id. at VII. This Court will retain jurisdiction for

   purposes of administration, enforcement, and interpretation of the Agreement. Id.

         B.     The Seven UAW v. General Motors Factors Weigh in Favor of
                Final Approval

                1.    The Resolution of a Legitimate Legal and Factual Dispute
                      (Likelihood of Success on the Merits)

         In determining whether the relief offered in a settlement outweighs a

   plaintiff’s chances of ultimate success on the merits, the Court “recognizes the


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   uncertainties of law and fact in any particular case and the concomitant risks and

   costs necessarily inherent in taking any litigation to completion.” IUE-CWA v.

   General Motors Corp., 238 F.R.D. 583, 594 (E.D. Mich. 2006). The Court “is not

   to decide whether one side is right or even whether one side has the better of these

   arguments. . . . The question rather is whether the parties are using settlement to

   resolve a legitimate legal and factual disagreement.” UAW, 497 F.3d at 632.

         Here, the settlement agreement resolves genuine legal and factual disputes.

   While the named plaintiffs are confident in their case, they recognize that a jury

   trial might have turned on close questions of proof, many of which would be the

   subject of complicated expert testimony, making the trial outcome highly

   unpredictable for all parties. See In re NASDAQ Market-Makers Antitrust Litig.,

   187 F.R.D. 465, 475-76 (S.D.N.Y. 1998) (“Antitrust litigation in general, and class

   action litigation in particular, is unpredictable . . . [T]he history of antitrust

   litigation is replete with cases in which antitrust plaintiffs succeeded at trial on

   liability, but recovered no damages, or only negligible damages, at trial, or on

   appea1”); Sheick v. Automotive Component Carrier LLC, 2010 U.S. Dist LEXIS

   110411 (E.D. Mich. Oct. 18, 2010) (finding that the potential of recovering

   “absolutely nothing” after a full-blown trial was a significant factor favoring final

   approval).




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         Moreover, even after a trial is concluded, there would very likely be one or

   more lengthy appeals. See In re Michael Milken & Assocs. Sec. Litig., 150 F.R.D.

   57, 65 (S.D.N.Y. 1993) (noting that “[i]t must also be recognized that victory even

   at the trial stage is not a guarantee of ultimate success” and noting the reversal of a

   multimillion dollar judgment); Maley v. Del Global Techs. Corp., 186 F. Supp. 2d

   358, 362 (S.D.N.Y. 2002) (granting approval where “[d]elay, not just at the trial

   stage but through post-trial motions and the appellate process, would cause Class

   Members to wait for years for any recovery, further reducing its value”).

         In contrast, the $3.25 million common fund created by Realcomp for the

   benefit of the class provides certainty. (Ex. A at III.A.) It became 50% funded on

   July 30, 2014, and will be fully funded by April 30, 2015. Id. At that time, class

   members who have submitted valid claim forms will be entitled to share the

   common fund. Id. at III.E. The claims administrator will determine the share of

   the settlement fund to which each claimant is entitled, based on the commission

   paid by each claimant, but in no event shall any claimant’s award exceed 25% of

   the total commissions paid by the claimant. Id. At this point, with 1,977 of class

   members responding, each respondent is likely to receive a substantial recovery,

   with the average recovery currently estimated to be approximately $835.00.

         Any money remaining in the common fund after the valid claims and fees

   have been paid will be distributed to Habitat for Humanity Detroit or to another


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   501(c)(3) charity in the Detroit area that is dedicated to providing housing

   assistance to the poor as approved by this Court. Id. at III.E.

         Balanced against the uncertainty at trial, the shared common fund will

   provide substantial cash benefits to the responding class members. This factor

   weighs in favor of settlement approval.

                2.     The Complexity, Expense and Likely Duration of the
                       Litigation

         Settlements should represent “a compromise which has been reached after

   the risks, expense, and delay of further litigation have been assessed.” Williams,

   720 F.2d at 922. Continued litigation against these defendants would have

   involved a lengthy trial and considerable effort to prepare the case for trial. Those

   efforts would have been very expensive and would have involved wrestling with

   complex legal, factual and economic issues, particularly relating to the presentation

   of experts and complex damages issues. Based on counsel’s experience with

   comparable MLS antitrust litigation and on the expenses incurred thus far in

   pursuing this action, the expense of continuing to employ economists to testify at

   trial would easily amount to several hundred thousand dollars for each side. Plus,

   the Court would expend significant resources of its own on the proceedings.

         Given the uncertainty of antitrust litigation, this settlement represents a fair

   and reasonable resolution of this matter for the class. Considering the complexity,

   expense and likely duration of the litigation, the risks of establishing liability and
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   damages, the reasonableness of the settlement fund, and the risk of collecting any

   possible judgment, the agreement falls well within the possible range of approval

   as a fair, reasonable, and adequate settlement. This weighs in favor of final

   approval. Griffin v. Flagstar Bancorp, Inc., 2013 U.S. Dist. LEXIS 173702 (E.D.

   Mich., Dec. 12, 2013) (approving final settlement, where, among other things,

   conducting merits and expert discovery would be time-consuming and costly and

   dispositive motions, trial and appeals would be expensive and burdensome).

                3.     The Opinions of Class Counsel and Class Representatives

         Class counsel’s judgment that settlement is in the best interests of the class

   “is entitled to significant weight, and supports the fairness of the class settlement.”

   Sheick, 2010 U.S. Dist. LEXIS at *51; see also Date v. Sony Electronics, Inc.,

   2013 U.S. Dist. LEXIS 108095, *28 et seq. (E.D.Mich. July 13, 2013).

         To begin, this Court found that class counsel was “well-qualified to serve as

   class counsel and will also fairly and adequately represent the interest of the class.”

   (Dkt. No. 199 at 25.) Plaintiffs’ counsel are experienced antitrust class action and

   commercial litigators who conducted a diligent and extensive investigation into the

   merits of Plaintiffs’ claims. When settlement was reached, plaintiffs’ counsel

   thoroughly understood the facts of the case and the strengths and weaknesses of the

   parties’ positions. Some of plaintiffs’ counsel performed many of the same

   functions in three other closely related class actions in federal district courts in


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   Pennsylvania and South Carolina and thus were very experienced in the subject

   matter of this litigation.

          With the benefit of this considerable experience and knowledge of their

   claims, plaintiffs’ counsel and the class representatives have decided it is in the

   best interests of the class to resolve this action and so have agreed to this

   settlement. Plaintiffs’ counsel worked closely with the class representatives for

   four years. The class representatives have been diligent in their assistance to

   counsel and vigilant in their efforts to prosecute this action on behalf of the class.

          In negotiating the settlement, plaintiffs’ counsel considered:

          (1) the substantial benefits available to plaintiffs and the class under the
          Settlement Agreement;

          (2) the risks and uncertainty of litigation, especially in complex actions such
          as this, as well as the difficulties and delays inherent in such litigation;

          (3) the inherent risk that any large judgment against one or more defendants
          may be uncollectable;
          (4) the risk that the Court will grant some or all of the outstanding motions
          for summary judgment and/or judgment on the pleadings; and

          (5) the desirability of consummating this Settlement Agreement promptly to
          provide effective relief to plaintiffs and the class.
   Plaintiffs are satisfied with their counsel’s recommendation and believe that the

   results are in the best interests of all class members.

          This Court “should defer to the judgment of experienced counsel who has

   competently evaluated the strength of his proofs.” Williams, 720 F.2d at 922-23.


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   Thus, this factor weighs heavily in favor of final approval here.

                4.     The Amount of Discovery Engaged in By the Parties

         The amount of discovery conducted in this action weighs heavily in favor of

   approval. The discovery and proceedings to date, as described below in this

   section, are more than sufficient “to permit the plaintiffs to make an informed

   evaluation of the merits of a possible settlement” and to permit this Court “to

   intelligently approve or disapprove the settlement.” Int’l Union v. Ford Motor Co.,

   2008 U.S. Dist LEXIS 66899, *74-75 (E.D. Mich. Aug 29, 2008).

         Before and during this action (including during settlement negotiations),

   plaintiffs’ counsel and their experts conducted a thorough examination and

   evaluation of the relevant law and facts to assess the merits of the action and to

   determine how best to serve the interests of plaintiffs and the class. In the course

   of their representation, plaintiffs’ counsel:

         (1) obtained relevant MLS listing data from third-party multiple listing
         services;
         (2) reviewed numerous deposition transcripts, briefs, documents and real
         estate transactional data, including the details of thousands of real estate
         transactions in the Realcomp service area and other comparable MLS
         service areas;

         (3) successfully defended the sufficiency of the complaint’s allegations
         against certain defendants’ motion to dismiss; and brought several additional
         procedural, evidentiary and discovery motions;

         (4) conducted an extensive search and review of studies, reports and
         documents relating to similar allegations of anticompetitive conduct in real
         estate markets across the country;
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           (5) retained the services of two well-respected experts, an economist and a
           seasoned real estate professional, both of whom performed thorough
           analyses of the pertinent data and information and prepared a preliminary
           damages analysis and a market report submitted on class certification;

           (6) defended the depositions of plaintiffs’ economist and market expert;
           (7) engaged in extensive briefing and discovery relating to class
           certification;
           (8) deposed defendants’ economic expert on class certification;

           (9) defended the depositions of each of the five class representatives;

           (10) defeated several attempts to exclude the testimony of plaintiffs’
           economist2;
           (11) obtained certification of a class consisting of all purchasers of Exclusive
           Right To Sell real estate brokerage services for residential properties in the
           Realcomp MLS Service Area from May 1, 2004 through April 27, 2007;
           (12) briefed oppositions to six motions for summary judgment and/or
           judgment on the pleadings that were outstanding when the parties reached
           settlement; and

           (13) prepared for and participated in three formal mediation sessions, one
           with professional mediator William Sankbeil and two with Magistrate Judge
           R. Steven Whalen, as well as several additional informal settlement
           conferences.3
           Based on these proceedings and discovery, the parties are well positioned to

   recognize the strengths and weaknesses of this case. This strongly supports final

   approval of the settlement. Date at *29 (finally approving settlement “after years

   of protracted litigation, . . . production of over 27,000 documents, depositions

   2
    Motions for reconsideration were pending when the settlement agreement was
   signed.
   3
       Most of these facts are a matter of public record and are not likely to be disputed.
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   of . . . witnesses, and full briefing and oral argument on the issue of class

   certification.”).

                 5.    The Reaction of Absent Class Members to Notice

          For the settlement to be granted final approval, notice to the class members

   must be adequate. Date, 2013 U.S. Dist. LEXIS 108095, *13 et seq. Rule 23(e)(1)

   provides that a settlement may be approved only if the Court “direct[s] notice in a

   reasonable manner to all class members who would be bound by the proposal.”

   Fed. R. Civ. P. 23(e)(1).

          Notice has been provided pursuant to this Court’s preliminary approval

   order. (Dkt. No. 220 at 6-7.) In fact, the parties have gone beyond the notice

   required by the Court. As discussed above, a total of 66,007 notices (original and

   re-mailing) have been mailed, and 54,449 reminder notices have been sent. (Ex.

   B.)

          The key concern is whether notice actually reached the class members. In re

   Serzone Prods. Liability Litig., 231 F.R.D. 221 (S.D. W.Va. 2005) (“[T]he

   adequacy of notice is measured by whether notice reached Class Members and

   gave them an opportunity to participate, not by actual participation.”); Zimmer

   Paper Prods., Inc. v. Berger & Montague, P.C., 758 F.2d 86, 92-93 (3d Cir. 1985)

   (holding that where defendant engaged in court-approved notice procedure,

   response rate was not determinative of the adequacy of the class notice.); 3 Alba

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   Conte & Herbert Newberg, Newberg on Class Actions § 8.45 (4th ed. 2002)

   (“Claims response levels will tend to vary with the circumstances, types of class

   notices employed, and size of individual claims involved in each case.”).4 Class

   counsel, in consultation with defense counsel, went above and beyond the

   approved notice plan, sending a reminder postcard and publishing reminder notices

   in several widely circulated local newspapers. As described above, it is estimated

   that nearly 90% of the identified potential class members have been reached.

         There have been only four opt-outs. There has been only one “objection”.5

   Thus, it is clear that absent class members have no relevant objections to the

   settlement. These facts weigh strongly in favor of final approval of the settlement.

                6.    The Risk of Fraud or Collusion

         Courts presume the absence of fraud or collusion unless contrary evidence is

   offered. Int’l Union v. Ford Motor Co., 2006 U.S. Dist. LEXIS 70471 (E.D. Mich.


   4
    The response rate is not evidence of insufficient notice. See, e.g., In re Packaged
   Ice Antitrust Litig., 2011 U.S. Dist. LEXIS 150427 (E.D. Mich. Dec. 13, 2011)
   (approving settlement even though only 1% responded to notices and noting that
   this rate is frequently less than 5%); Touhey v. United States, 2011 U.S. Dist.
   LEXIS 81308 (C.D. Cal. July 25, 2011) (approving settlement even though only
   2% responded to notices); In re New Motor Vehicles Canadian Export Antit. Litig.,
   2011 U.S. Dist. LEXIS 40843 (D. Maine April 13, 2011) (approving settlement
   with a 3.9% response rate).
   5
     Brian Marentette complains that Real Estate One failed to disclose the zoning,
   fraudulently misrepresented garage roof repairs, and was involved with an
   exchange of stoves. None of his complaints relate to the MLS or to payment of
   commissions. (Dkt. No. 221.)
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   July 13, 2006). Here, the Court no doubt witnessed the passionate advocacy of

   counsel on both sides of this action. There was no collusion here, and counsel on

   both sides acted in good faith and in the best interests of their respective clients at

   all times. This factor weighs in favor of final approval.

                7.     The Public Interest

         “[T]here is a strong public interest in encouraging settlement of complex

   litigation and class action suits because they are ‘notoriously difficult and

   unpredictable’ and settlement conserves judicial resources.” In re Cardizem, 218

   F.R.D. 508, 530 (E.D. Mich. 2003). No countervailing public interests suggest

   disapproval of the settlement, nor have any class members opted out or objected on

   relevant grounds. To the contrary, the public is served by open and fair

   competition in the real estate marketplace, which is fostered by this settlement.

   This factor weighs in favor of final approval.

         With all seven factors weighing in favor of approval, this Court should grant

   final approval of the settlement.

                                       CONCLUSION
         A proposed final order was initially attached as Exhibit 3 to the Settlement

   Agreement. (Ex. A.) That proposed order is re-attached here, with some of the

   blanks filled in, as Exhibit C. This Court should grant final approval of the

   settlement because it is fair, adequate and reasonable.


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   Respectfully Submitted,

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                                                 Dated: August 6, 2014




                                CERTIFICATE OF SERVICE
                     I hereby certify that on August 6, 2014, I caused the
                     foregoing paper(s) to be electronically filed with the
                     Clerk of the Court using the ECF System, which
                     will send notification of such filing to all counsel of
                     record.

                                /s/ Erica Fitzgerald
                                        Erica Fitzgerald


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